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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


UNITED STATES OF AMERICA, )
                          )
     Plaintiff            )
                          )
     v.                   )
                          )                    Case No. 2:19-cr-00220-JDL
TERREL WALKER,            )
                          )
     Defendant            )



               DEFENDANT’S REQUEST FOR A BILL OF PARTICULARS


        NOW COMES the Defendant, Terrel Walker, by and through his attorney, Leonard I.

Sharon, Esq., and moves this Honorable Court as follows:

        This Indictment is one of the rare instances where the mere recitation of the elements of

the crime as contained in the statute does not suffice. Terrel Walker is requesting that this Court

exercise its power under Fed. R. Crim. P. 7(f) to direct the government to file a bill of particulars.

        A) LAW

        The general rule of law states that, “[t]he indictment . . . must be a plain, concise, and

definite written statement of the essential facts constituting the offense charged.” Fed. R. Crim.

P. 7(c)(1).

        The United States Supreme Court has reasoned that “an indictment is sufficient if it, first,

contains the elements of the offense charged and fairly informs a defendant of the charge against

which he must defend.” Hamling v. United States, 418 U.S. 87, 117 (1974).

        Imprecision in the language of an indictment does not even require more particularity.

United States v. Brown, 295 F.3d 152, 155–57 (1st Cir. 2002) (indictment for kidnapping sufficient

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despite omission of allegation that kidnapping caused death of victim because defendant on notice

from other counts which allege that the defendant killed a victim).

       Where then does a bill of particulars come in handy? The answer is when the defendant

requires more particularity in describing the offense. Case law answers this question in a manner

which gives guidance to the court in determining whether a defendant’s request for more

particularity should be granted. For example, Magistrate Judge Cohen wrote:


               The function of a bill of particulars is to provide the defendant with
               necessary details of the charges against him to enable him to prepare his
               defense, to avoid surprise against [sic] trial, and to protect against double
               jeopardy. United States v. El-Silimy, CR.N. 04-63-BW, 225 F.R. D 52, 54
               2005 U.S. Dist. LEXIS 6147 *2 (D. Me. 2005) (Motion denied by United
               States. v. El-Silimy, 417 F. Supp. 2d 75 2006 U.S. Dist. LEXIS 8540 (D.
               Me. 2006)).


       Judge Woodcock warned that “motions for bills of particulars are seldom employed in

modern federal practice.” United States v. Kinsella, 380 F. Supp. 2d 7, 10, 2005 U.S. Dist. LEXIS

15946 **7 (citing United States. v. Sepulveda, 15 F.3d 1161, 1192 (1st Cir. 1993); United States.

v. Abreau, 952 F.2d 1458, 1469 (1st Cir. 1992)). “Open-file discovery may indeed obviate the need

for greater specificity.” Id. at **7 (citation omitted).

       B) PARTICULARS REQUIRED

       In this instance, the Defendant, Terrel Walker, only desires particularity as to Count 2 of

the Indictment which charges him with “Holding for Sale a Counterfeit Drug,” 21 USCA §

331(i)(3).

       Counterfeit drug is defined, pursuant to 21 U.S. Code § 321, as:

       The term “counterfeit drug” means a drug which, or the container or labeling of
       which, without authorization, bears the trademark, trade name, or other identifying
       mark, imprint, or device, or any likeness thereof, of a drug manufacturer, processor,
       packer, or distributor other than the person or persons who in fact manufactured,

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         processed, packed, or distributed such drug and which thereby falsely purports or
         is represented to be the product of, or to have been packed or distributed by, such
         other drug manufacturer, processor, packer, or distributor.

         Here, the indictment fails to define what drug the Defendant possessed and what trademark

or identification it bore of another drug.

         The terms are not mere surplusage, as they are elements of the crime. See 21 U.S.C.A. §

331(i)(3).

         WHEREFORE, the Defendant, Terrel Walker, respectfully requests that this Honorable

Court issue an Order requiring the Government to file a bill of particulars stating the chemical

makeup of the substance possessed by the Defendant, as well as the drug which it falsely purports

to be.

Dated at Lewiston, Maine, this 1st day of July, 2020.

                                              /s/Leonard I. Sharon
                                              Leonard I. Sharon, Esq.
                                              ME Bar No. 3291
                                              Attorney for Defendant, Terrel Walker
                                              Andrucki & King
                                              179 Lisbon Street, 3rd Floor
                                              P.O. Box 7120
                                              Lewiston, ME 04243-7120
                                              (207) 777-4600
                                              LIS@andruckilaw.com


                                              /s/ Logan E. Perkins
                                              Logan E. Perkins, Esq.
                                              ME Bar No. 5033
                                              Co-counsel for Defendant, Terrel Walker
                                              Perkins Law Office
                                              253 Waldo Ave.
                                              Belfast, ME 04915
                                              (207) 949-7371
                                              logan@belfastcriminallaw.com




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                                  CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing Defendant’s Request
for a Bill of Particulars with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

Meghan E. Connelly, AUSA
United States Attorney’s Office
100 Middle Street, East Tower, 6th Fl.
Portland, ME 04101
meghan.connelly@usdoj.gov

I hereby certify that on July 1, 2020, I have mailed by United States Postal Service, the document
to the following non-registered participant at the following address:

Terrel Walker
P.O. Box 372
Orono, ME 04473


       Dated at Lewiston, Maine, this 1st day of July, 2020.

                                              /s/Leonard I. Sharon
                                              Leonard I. Sharon, Esq.
                                              Attorney for Defendant, Terrel Walker
                                              Andrucki & King
                                              179 Lisbon Street, 3rd Floor
                                              P.O. Box 7120
                                              Lewiston, ME 04243-7120
                                              (207) 777-4600
                                              LIS@andruckilaw.com




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